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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

 UNITED STATES OF AMERICA,                       )
                                                 )
        Plaintiff,                               )
                                                 )
 v.                                              ) Case No.: 4:24-cr-10-RLW-SPM-2
                                                 )
 MOHD AZFAR MAILK,                               )
                                                 )
             Defendants.                         )

                           UNOPPOSED THIRD MOTION TO TRAVEL

        Defendant, Mohd Azfar Malik, M.D., by and through counsel, moves this Court for

 permission to travel from St. Louis, Missouri to Newark, Pennsylvania from March 6 to March 8

 and from St. Louis to New York City from March 18 to March 24. In support of this motion,

 Defendant states as follows:

        1.      Dr. Malik hopes to travel with his wife from St. Louis to Newark on March 6.

        2.      In Newark, Dr. Mailk will speak at an event sponsored by Calypta, the

                manufacturer of prescription medication for bipolar disorder and depression.

        3.      Dr. Malik and his wife will stay at the Hilton Wilmington Christiana Hotel in

                Newark, Pennsylvania and the Hilton Newark Airport Hotel in Elizabeth, New

                Jersey.

        4.      They will return to St. Louis on March 8.

        5.      On March 18, Dr. Malik and his wife hope to travel from St. Louis to New York

                City to visit their newborn grandson.

        6.      In New York, Dr. Malik and his wife will stay at the home of their son and

                daughter-in-law.



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        7.      Dr. Malik and his wife will return to St. Louis on March 24.

        8.      Dr. Malik will provide all relevant travel information to his Pretrial Services

                Officer before he departs St. Louis on March 6 and March 18.

        9.      Dr. Malik, through counsel, has discussed this matter with Assistant United States

                Attorney Amy Sestric.

        10.     Ms. Sestric does not object to Dr. Malik’s request.

        11.     Dr. Malik, through counsel, has also discussed this matter with Pretrial Services

                Officer Dan Fahl.

        12.     Mr. Fahl does not object to Dr. Malik’s request.

        For the reasons above, Mohd Azfar Malik, M.D., respectfully requests this Court permit

 him to travel from St. Louis, Missouri to Newark, Pennsylvania from March 6 to March 8 and

 from St. Louis to New York City from March 18 to March 24.




                                               Respectfully submitted,

                                               /s/ Adam Fein

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 26, 2024, the foregoing was electronically filed with the
 Clerk of the Court to be served by operation of the Court’s electronic filing system upon Ms.
 Amy E. Sestric, Assistant United States Attorney.


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